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SO ORDERED.
SIGNED this 6th day of April, 2023


THIS ORDER HAS BEEN ENTERED ON THE DOCKET.
PLEASE SEE DOCKET FOR ENTRY DATE.




   _____________________________________________________________




                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                           NORTHERN DIVISION AT KNOXVILLE

   IN RE:

            Judy Ann Fleeman                            Case No. 3:19-BK-30715-SHB
                                                                     Chapter 7


                          Debtor.


                                ORDER APPROVING COMPROMISE
            Ryan E. Jarrard, Trustee, moved the Court for authority to compromise a personal injury

   claim of the Debtor that is an estate asset. No objections were filed within the required notice

   period. Based upon the facts presented, the court is of the opinion that the settlement is in the best

   interests of the estate. The Trustee may compromise the personal injury claim of the debtor for

   $80,935.47 subject to a hold back of $32,374.19 during the medical lien holdback process. Special

   Counsel fees are also to be paid from this settlement, and approval to pay those fees has been

   submitted separately. Additionally, a 10% court ordered assessment was also approved in the

   underlying personal injury settlement, which will not pass through the bankruptcy estate.
   Specifically, the court understands and approves that this is an interim settlement, and additional
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funds may be available following resolution of the Medical Lien Holdback. The Trustee shall

supplement the underlying motion once the Medical Lien Holdback issue is resolved.

                                                ###


APPROVED FOR ENTRY:


/S/ Ryan E. Jarrard
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